The defendants, Local Division No. 194 of the Amalgamated Association of Street  Electric Railway Employees of America, and certain of its officers and members, appealed suspensively and devolutively from a judgment reinstating the plaintiffs as members of the said association, from which they had been expelled, and perpetuating an injunction issued in their behalf.
The plaintiffs and appellees have moved to dismiss the appeals of the officers and members of the defendant association because they have not executed any bond under the order granting them the appeals. They also moved to dismiss the suspensive appeal of the defendant association, on the ground that no legal bond has been given therefor.
The motion to dismiss must prevail. The only bond we find in the record is executed by the defendant Local Division No. 194 of the Amalgamated Association of Street and Electric Railway Employees of America as principal and the Fidelity  Casualty Company of New York as surety. It is clear, therefore, that the other seven appellants are not before this court as parties to the appeal. Baldree v. Davenport, 7 La. Ann. 589; Robert v. Ride, 11 La. Ann. 409; Dow  Walsh v. Hardy  McDonald, 13 La. Ann. 441; Voelkel v. Voelkel, 18 La. Ann. 639; Succession of Richardson, 26 La. Ann. 187; Walton v. Concordia Parish, 26 La. Ann. 355. The order was for a suspensive appeal upon bond being *Page 566 
furnished according to law, and for a devolutive appeal upon bond being furnished in the sum of $250. The bond furnished by the defendant association was for $250. This is sufficient to sustain the devolutive but not the suspensive appeal. The appeal cannot operate suspensively, because the amount of the bond was not fixed by the judge — the law fixes the amount of the bond for a suspensive appeal only where the judgment is for a sum of money. Code Prac. arts. 574, 575; Rozan v. Villere, 147 La. 746, 85 So. 899, and authorities cited.
For the reasons assigned, the suspensive and devolutive appeals of Edward A. Veillon, Edwin Peyroux, Gus. J. Bienvevue, Edward Lawrence, Walter Harvey, W. Odenwalder, and Edward Berges, and the suspensive appeal of Local Division No. 194, Amalgamated Association of Street  Electric Railway Employees of America, are dismissed.